                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

    ALIGN TECHNOLOGY, INC.,

                      Plaintiff,
         v.                                              Civil Action No.: 6:24-cv-00187

    CLEARCORRECT OPERATING, LLC,                          JURY TRIAL DEMANDED
    CLEARCORRECT HOLDINGS, INC., and                          PATENT CASE
    INSTITUT STRAUMANN AG,

                      Defendants.


      INSTITUT STRAUMANN AG’S FEDERAL RULE OF CIVIL PROCEDURE 7.1
                              DISCLOSURE

        Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure Institut Straumann AG

hereby submits the following corporate disclosure statement:1

        Institut Straumann AG is a wholly owned subsidiary of Straumann Holding AG a publicly

traded company on the SIX Swiss Exchange under the ticker symbol STMN. Straumann Holding

AG owns 10% or more of Institut Straumann AG’s stock.

        By providing this information, Institut Straumann AG does not intend to waive any

defenses or consent to the jurisdiction of this Court.




1
  Institut Straumann AG has entered a limited and special appearance to file its motion to dismiss
pursuant to Federal Rule of Civil Procedure 12(b)(2). Dkt. 30. By providing this information,
Institut Straumann does not intend to waive the arguments raised in its motion or consent to the
jurisdiction of this Court.
Dated: July 1, 2024   Respectfully submitted,



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Limited Appearance for Defendant
Institut Straumann AG
                              CERTIFICATE OF SERVICE
       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on July 1, 2024.

                                                    /s/ Melissa R. Smith
                                                    Melissa R. Smith
